No briefs have been filed herein. It appears, however, by a stipulation filed in this court on July 28, 1910, that the point involved, to wit: the constitutionality of an act of the legislature of the state of California entitled "An act to provide for the payment by the state, or counties, or cities, or cities and counties, of the premium or charge on official bonds when given by surety companies," approved March 25, 1903, [Stats. 1903, p. 476], is identical with the question presented in County of San Luis Obispo v. Murphy, 162 Cal. 588, [123 P. 808], wherein, by an opinion *Page 56 
of the supreme court filed April 11, 1912, the said act was declared constitutional and valid. Upon the authority of that case and pursuant to the stipulation of the parties, the judgment herein appealed from is affirmed.